






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00053-CV






Alvin Alexander a/k/a Sabian Alexander, Appellant


v.


Caritas of Austin, Appellee






FROM COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-10-011331, HONORABLE ERIC SHEPPERD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant's brief was due in this Court on May 25, 2011, and is overdue.  If an
appellant fails to file a brief, this Court may dismiss the appeal for want of prosecution unless the
appellant reasonably explains the failure and appellee is not significantly injured by that failure.  See
Tex. R. App. P. 38.8(a)(1).  On June 29, 2011, we sent notice to appellant that his brief was overdue
and that the appeal may be dismissed if appellant did not submit a proper motion to this Court on
or before July 11, 2011.  On July 9, the notice was returned to this Court as undeliverable.

		We have been unable to locate a forwarding address for appellant.  Nor have we
received any communication from appellant in the more than seven months since his notice of appeal
was filed.  Because appellant has not filed his brief, provided this Court with a means to reach him,
or contacted this Court in any manner in the more than seven months since his notice of appeal was
filed, we dismiss the appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).


						_____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Dismissed for Want of Prosecution

Filed:   August 31, 2011


